                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

SDS SPORTS AGENCY, LLC
5309 Monroe Rd., Ste. 118
Charlotte, North Carolina 28205

       Plaintiff,

               v.

ALEJANDRO MAYORKAS,
DEPARTMENT OF HOMELAND                         Civil No.: 3:22-cv-00044
SECURITY,
2707 Martin Luther King Jr. Ave., SE
Washington, DC 20528

U.S. CITIZENSHIP AND IMMIGRATION
SERVICES,
5900 Capital Gateway Drive
Mail Stop 2120
Camp Springs, MD 20588

UR MENDOZA JADDOU, DIRECTOR,
U.S. Citizenship and Immigration Services
5900 Capital Gateway Drive
Camp Springs, MD 20588

LAURA ZUCHOWSKI, DIRECTOR OF
VERMONT SERVICE CENTER,
U.S. Citizenship and Immigration Services
38 River Rd.
Essex Junction, VT 05479

       Defendants.
                       MOTION TO DISMISS WITH PREJUDICE


     Comes now Plaintiff by and through counsel in the above-captioned cause, and respectfully
     moves that this Court dismiss the above-entitled action with prejudice on the basis that
     Plaintiff has found alternative resolution.


       Witness my signature this the 15th day of February, 2022.
Respectfully submitted,



By: ________________________________
   DARLENE HARRIS, ESQ
   State Bar No. 46087
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       Defendants.


                                DISMISSAL WITH PREJUDICE

   THIS CAUSE having come on for hearing on motion of the Plaintiff to dismiss all
defendants, from the plaintiff's cause of action with prejudice, and this Court, having considered
the same and being fully advised in the premises, finds that the Motion is well taken and the
same is hereby granted.
   IT IS, THEREFORE, ORDERED AND ADJUDGED that the claims against all Defendants,
be, and the same are hereby, dismissed with prejudice, with each party to bear their respective
costs.

   SO ORDERED AND ADJUDGED, this the __________ day of __________, __________.




                              _________________________
                                 CIRCUIT JUDGE



                                 APPROVED AS TO FORM:

                                 __________________________
